Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29                                 Desc: Main
                           Document Page 1 of 7



                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
 ------------------------------------------------------------------------- x
                                                                           :
 In re:                                                                    :
                                                                           :
 THE FINANCIAL OVERSIGHT AND                                               : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                         : Title III
                                                                           :
                   as representative of                                    : Case No. 17-BK-3283 (LTS)
                                                                           :
 THE COMMONWEALTH OF PUERTO RICO et al.,                                   : (Jointly Administered)
                                                                           :
                   Debtors.1                                               :
 ------------------------------------------------------------------------- x

       URGENT JOINT MOTION OF OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS, FINANCIAL OVERSIGHT AND MANAGEMENT BOARD, AND
       ITS SPECIAL CLAIMS COMMITTEE, TO FURTHER EXTEND BRIEFING
        SCHEDULE WITH RESPECT TO POTENTIAL MOTION BY OFFICIAL
      COMMITTEE OF UNSECURED CREDITORS SEEKING APPOINTMENT OF
                   TRUSTEE TO PURSUE CAUSES OF ACTION

 To the Honorable United States District Judge Laura Taylor Swain:

         The Official Committee of Unsecured Creditors of All Title III Debtors (other than

 COFINA) (the “Committee”), Financial Oversight and Management Board for Puerto Rico (the

 “Oversight Board”), and the Special Claims Committee of the Oversight Board (the “Special

 Claims Committee” and, together with the Oversight Board and the Committee, the “Movants”),

 respectfully submit this urgent joint motion (the “Urgent Motion”) for entry of an order

 substantially in the form attached hereto as Exhibit A, further extending the briefing schedule


 1
     The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a
     bankruptcy case number due to software limitations and the last four (4) digits of each Debtor’s federal tax
     identification number, as applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-
     3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government
     of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of
     Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing
     Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID:
     8474), and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-4780 (LTS)) (Last
     Four Digits of Federal Tax ID: 3747).
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29                                   Desc: Main
                           Document Page 2 of 7



 under this Court’s March 29, 2019 order [Docket No. 6086] (the “Procedures Order”).2 In

 support of this Urgent Motion, the Movants respectfully state as follows:

                                           RELIEF REQUESTED

         1.       Under the Procedures Order, the Court, among other things, required the

 Oversight Board to disclose to the Committee by April 5, 2019 a preliminary list of potential

 causes of action that the Oversight Board would, in the absence of appropriate tolling

 agreements, pursue on behalf of the Commonwealth, directed the parties to meet and confer

 regarding the contents of such preliminary list and anticipated allocation of litigation

 responsibilities, and required the Oversight Board to disclose to the Committee by April 10,

 2019, the final list of potential defendants against which the Oversight Board will pursue causes

 of action related to the Commonwealth or from which the Oversight Board will obtain tolling

 agreements. The Procedures Order also sets forth a briefing schedule with respect to a Section

 926 Motion (if necessary) to be filed by the Committee with respect to causes of action related to

 the Commonwealth.

         2.       Following the Oversight Board’s disclosure of its preliminary list on April 5,

 2019, the Movants met and conferred extensively to discuss, among other things, the Debtors’

 potential causes of actions against certain parties and the allocation of litigation responsibilities.

         3.       On April 10, 2019, the Movants requested [Docket No. 6170], and the Court

 granted [Docket No. 6172], an extension of the briefing schedule with respect to a Section 926

 Motion, in order to allow the parties to continue the meet and confer process.

         4.       In order to allow the parties to continue the meet and confer process, and

 potentially reach agreement on a framework to pursue the Debtors’ potential causes of action,


 2
     Capitalized terms not defined in this Urgent Motion have the meanings set forth in the Procedures Order.


                                                         2
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29                    Desc: Main
                           Document Page 3 of 7



 thereby obviating the need for any Section 926 Motion, the Movants request that the briefing

 schedule with respect to a Section 926 Motion seeking the appointment of a trustee to assert

 Commonwealth-related causes of action be revised as follows:

                                                Current Date                Proposed Date

 Deadline for Committee to file           April 15, 2019 at 9:30       April 16, 2019 at 9:30
 Section 926 Motion                       a.m. (Atlantic Standard      a.m. (Atlantic Standard
                                          Time)                        Time)

 Deadline for Oversight Board to file     April 18, 2019 at 9:30       April 19, 2019 at 9:30
 opposition to Section 926 Motion         a.m. (Atlantic Standard      a.m. (Atlantic Standard
                                          Time)                        Time)

 Deadline for Committee to file reply     April 22, 2019 at 3:00       April 23, 2019 at 9:30
 in further support of Section 926        p.m. (Atlantic Standard      a.m. (Atlantic Standard
 Motion                                   Time)                        Time)

 Joint Status Report (incl. proposed   Oral presentation at the        unchanged
 deadlines for disclosure of Avoidance April 24, 2019 omnibus
 Actions and Section 926 Motion        hearing
 practice in connection with other
 Debtors)

 Hearing on Section 926 Motion            April 24, 2019 at 9:30       unchanged
                                          a.m. (Atlantic Standard
                                          Time)



        5.      Pursuant to Paragraph I.H of the Case Management Procedures, the Committee

 and the Oversight Board hereby certify that they have carefully examined the matter and

 concluded that there is a true need for an urgent motion; have not created the urgency through

 any lack of due diligence; have made a bona fide effort to resolve the matter without a hearing;

 and have made reasonable, good-faith communications in an effort to resolve or narrow the

 issues that are being brought to the Court.




                                                 3
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29                       Desc: Main
                           Document Page 4 of 7



                                              NOTICE

        6.      Notice of this Urgent Motion has been provided to the following entities, or their

 counsel, if known: (i) the U.S. Trustee; (ii) the Office of the United State Attorney for the

 District of Puerto Rico; (iii) AAFAF; (iv) the official committee of retirees; (v) the insurers of

 the bonds issued or guaranteed by the Debtors; (vi) counsel to certain ad hoc groups of holders of

 bonds issued or guaranteed by the Debtors; and (vii) all parties that have filed a notice of

 appearance in the above-captioned Title III cases.

                                      NO PRIOR REQUEST

        7.      No previous request for the relief requested herein has been made to this or any

 other court.

                            [Remainder of page intentionally left blank.]




                                                   4
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29                     Desc: Main
                           Document Page 5 of 7



        WHEREFORE, the movants respectfully request the Court to the proposed order,

 substantially in the form attached hereto as Exhibit A, and grant the movants such other relief as

 is just and proper.


 Dated: April 12, 2019                   By: /s/ Luc A. Despins                      .

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                                                 5
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29          Desc: Main
                           Document Page 6 of 7



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                                        6
Case:17-03283-LTS Doc#:6216 Filed:04/12/19 Entered:04/12/19 16:36:29            Desc: Main
                           Document Page 7 of 7




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                                        7
